         Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 1 of 15



                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
               v.                                     :       Crim. No. 08-CR-057-16 (BJR)
                                                      :
AURELIO CANO FLORES,                                  :
a.k.a “Yankee,” a.k.a. “Yeyo,”                        :
                                                      :
                       Defendant.                     :

                 GOVERNMENT’S OPPOSITION TO DEFENDANT’S
            SUPPLEMENTAL MOTION TO SUPPRESS WIRETAP EVIDENCE

       Now comes the United States of America (hereinafter the “Government”), by and

through the undersigned attorneys of the Narcotic and Dangerous Drug Section, Criminal

Division, United States Department of Justice, and makes its opposition to Defendant Aurelio

Cano Flores’ (hereinafter “Defendant”) Supplemental Motion to Suppress Wiretap Evidence. 1 In

his motion, Defendant seeks to suppress all evidence obtained from the Government’s

interception of wire communications on six different telephones, all pursuant to court orders.

Defendant argues for suppression on the following grounds: (1) the orders did not authorize the

interception of calls between phones in Mexico; (2) all of the calls the Government intends to

play at trial were intercepted from Mexican telephone lines; and (3) Title III of the Omnibus

Crime Control and Safe Streets Act of 1968, does not grant authority to intercept

communications outside of the United States. 2



1
  The instant Motion was filed on January 30, 2013, Dkt. No. 108. Motions were heard by the
Court on January 31 and February 1, 2013. Because of the last-minute filing of the Motion, and
the proximity to trial, the Court ruled that the Government could file its response post-trial. The
Court did not set a specific date by which the response should be filed.
2
  A virtually identical motion was filed just prior to the instant one by the defendant in a related
case, United States v. Gilberto Lerma Plata, CR 11-238-1. On January 31, 2013, while the
instant motion was pending before this Court, Judge Cathleen Kollar-Kotelly issued a
Memorandum Opinion and Order denying the motion, and adopting the position of the
                                                  1
         Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 2 of 15



       The Government opposes Defendant’s Supplemental Motion to Suppress Wiretap

Evidence and respectfully asks this Court to deny the motion on the basis that: (1) the court had

authority to permit interceptions within the United States of communications which took place

outside of the United States and (2) the intercepts complied with the court’s order.

                                    STATEMENT OF FACTS

       Defendant, a citizen of Mexico, was charged with one count of conspiracy to

manufacture and distribute five kilograms or more of cocaine and 1,000 kilograms or more of

marijuana, knowing and intending that it would be unlawfully imported into the United States, in

violation of 21 U.S.C. §§ 959, 960, and 963. The conspiracy began around the year 2000, and

continued through 2010. On August 19, 2011, Defendant was extradited to the United States on

the instant Indictment. Trial commenced February 11, 2013. On February 26, 2013, a jury

found Defendant guilty as charged. Sentencing is set for May 13, 2013.

       The Government’s evidence at trial established that the Gulf Cartel (hereinafter “Cartel”),

a Mexico-based criminal organization, sometimes known as “The Company,” was responsible

for the distribution of multi-ton quantities of cocaine and marijuana from Mexico into the United

States. The evidence also showed the Cartel maintained an armed faction, known as “Los

Zetas,” which was made up of ex-military personnel. “Los Zetas” acted as enforcers and hit-men

to protect the drug trafficking territory of the Cartel from rival drug traffickers.

       The Government’s evidence showed that after starting out as a corrupt police officer,

Defendant rose through the ranks of the Cartel, ultimately reaching the rank of Plaza Boss or

Plaza Commander for the border town of Los Guerra. In a series of judicially authorized

wiretaps, the subject of the instant Motion to Suppress, Defendant was intercepted discussing


Government in all material respects. Dkt. No. 28. The Government adopts that opinion in the
instant matter and incorporates the court’s findings and reasoning herein.
                                                   2
         Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 3 of 15



shipments of cocaine and marijuana, the transportation of bulk cash and acts of violence against

suspected informants with other members of the conspiracy. The Government played forty-

seven of those intercepted calls during the trial.

                              THE WIRETAP INVESTIGATION

        In June 2006, Special Agents with the Drug Enforcement Administration (hereinafter

“DEA”) began an investigation into the drug-trafficking activities of Gulf Cartel in Mexico, the

United States, and elsewhere. The DEA’s primary method in identifying and obtaining evidence

against the Cartel’s leadership was by intercepting their telephone calls.

        During the investigation, the DEA Houston Field Division intercepted communications

from over 100 different telephones used by Cartel members. Prior to intercepting calls on each

telephone, the Government applied for and obtained judicial authorization from United States

District Court judges in the Southern District of Texas. Once the order was obtained for each

telephone, DEA provided the order to the telephone service provider and began monitoring the

phone calls in a DEA wire room in Houston, Texas.

        As part of the wiretap investigation, the DEA intercepted calls on telephones used by

Defendant and other members of the conspiracy with whom he was speaking. Defendant now

seeks to suppress these calls, which occurred on telephones designated as Target Devices 12, 21,

22, 31, 37, and 49. 3

        As established at trial, the DEA’s ability to intercept the telephones utilized by Defendant

and his co-conspirators was limited by several factors that are of great significance in evaluating

the legality of the interceptions. First, the DEA could only intercept calls made on Mexican



3
 A complete listing of the dates of the individual Orders for each Target Device, as well as their
respective International Mobile Subscriber Identity (“IMSI”) and Urban Fleet Mobile Identifier
(“UFMI”) numbers, is set forth in Defendant’s Motion at pp. 2-3.
                                                     3
           Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 4 of 15



cellular phones if they were being used in close proximity to the Mexico/United States border.

(Trial Tr. A.M. Session Excerpt, 6, February 12, 2013.) Second, calls made in Mexico are only

intercepted if the user set the telephone in the “roam” mode such that the phone would seek the

nearest available cell tower, here United States cell towers, regardless of the network with which

it was associated. Id. If both of the preceding factors existed, calls from inside Mexico that

routed through cell towers located within the United States could be intercepted pursuant to the

court’s order. Id. If the phone’s user strayed too far from the border, or turned off the “roam”

function, the call could not be intercepted. Id. The actual interceptions occurred in Houston,

Texas, in the DEA’s wire room. Id. at 5.

       Pursuant to Rule 16, the Government provided Defendant with copies of all recordings

intercepted over Target Devices 12, 21, 22, 31, 37, and 49, those at issue in this case; copies of

Line Sheet Reports for all pertinent and non-pertinent intercepted calls over each of those Target

Devices; and the corresponding Title III affidavits, applications, and orders for those Target

Devices.

                                           ARGUMENT 4

I.     THE COURT HAD AUTHORITY TO AUTHORIZE INTERCEPTIONS
       WITHIN THE UNITED STATES OF COMMUNICATIONS WHICH
       TOOK PLACE OUTSIDE OF THE UNITED STATES.
       Title III of the Omnibus Crime Control and Safe Streets Act authorizes a district court to

grant an application for interception of specific wire, oral, or electronic communications. 18


4
 The Government concedes Defendant’s standing with respect to each of the six challenged
Target Devices, as raised at pp. 5-6 of his Supplemental Motion, as he was intercepted talking on
each of them. United States v. Williams, 580 F.2d 578, 583 (D.C. Cir. 1978); Alderman v.
United States, 394 U.S. 165, 176, 89 S.C. 961 (1969). The Government also concedes that all of
the intercepted phones were physically located in Mexico, as argued by Defendant in his Motion
at pp. 6-7. However, Defendant mischaracterizes the interceptions as having occurred “from
Mexican phone lines.” These interceptions involved no “phone lines” whatsoever, but rather
cellular transmissions intercepted on U.S. cellular towers.
                                                 4
         Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 5 of 15



U.S.C. § 2518. The application must be filed with a judge of competent jurisdiction. 18 U.S.C.

§ 2518(1). Approval of the application depends upon specific findings of the district court. 18

U.S.C. § 2518(3); see also United States v. Becton, 601 F.3d 588, 595 (D.C. Cir. 2010) (citing

United States v. Carter, 449 F.3d 1287, 1292 (D.C. Cir. 2006)). The district court may approve

wiretap interceptions within the territorial jurisdiction of the court and outside the territorial

jurisdiction of the court, but within the United States, in the case of a mobile interception device.

18 U.S.C. § 2518(3). The district court’s order authorizing the interception must specify:

        (a) the identity of the person, if known, whose communications are to be
        intercepted; (b) the nature and location of the communications facilities as to
        which, or the place where, authority to intercept is granted; (c) a particular
        description of the type of communication sought to be intercepted, and a
        statements of the particular offense to which it relates; (d) the identity of the
        agency authorized to intercept the communications, and of the person authorizing
        the application; and (e) the period of time during which such interception is
        authorized, including a statement as to whether or not the interception shall
        automatically terminate when the described communication has been first
        obtained.
18 U.S.C. § 2518(4).

        Defendant argues that Title III does not grant authority to the courts to authorize the

interception of communications that occur outside of the United States. As explained below,

Defendant’s position is not supported by case law, and as such, Defendant’s Motion to Suppress

on these grounds should be denied.

        A. For Jurisdictional Purposes, Interception May Occur in Several Locations.
        The jurisdictional limitation on wiretaps is set forth in 18 U.S.C. § 2518(3), which

empowers a judge to “enter an ex parte order, as requested or as modified, authorizing or

approving interception of wire, oral, or electronic communications within the territorial

jurisdiction of the court in which the judge is sitting.” Interception is defined as “the aural or

other acquisition of the contents of any wire, electronic, or oral communication through the use


                                                   5
         Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 6 of 15



of any electronic, mechanical, or other device.” 18 U.S.C. § 2510(4).

        Defendant argues that “a fair reading” of Title III suggests a lack of Congressional intent

to allow for interception of communications in another country. (Mem. in Supp. of Def.’s Mot. to

Suppress Evidence 11.) Further, Defendant suggests that Congress had not contemplated that

interception could occur outside the United States. However, Defendant fails to recognize that

interception did not occur outside the United States in the instant case. Here, interception

occurred in a wire room in the Southern District of Texas, within the United States and within

the territorial jurisdiction of the authorizing court.

        The statutory definition is silent as to where interception occurs for jurisdictional

purposes. United States v. Rodriguez, 968 F.2d 130, 135-36 (2d Cir. 1992). However, the Second

Circuit held that:

        [T]he language of § 2510(4), the legislative history of that section, and the policy
        considerations of Title III all persuade us that for purposes of § 2518(3)'s
        jurisdictional requirement, a communication is intercepted not only where the
        tapped telephone is located, but also where the contents of the redirected
        communication are first to be heard.

United States v. Rodriguez, 968 F.2d 130, 136 (2d Cir. 1992).

        Since Rodriguez, courts have squarely held that interception occurs in at least two places:

where the target device is physically located and where the interception is heard by investigators

for the first time. United States v. Luong, 471 F.3d 1107, 1109 (9th Cir. 2006) (“The most

reasonable interpretation of the statutory definition of interception is that an interception occurs

where the tapped phone is located and where law enforcement officers first overhear the call.”);

United States v. Ramirez, 112 F.3d 849, 852 (7th Cir. 1997) (holding that interception occurs

where the calling device is located, where the receiving device is located, and where law

enforcement first hears the communications); United States v. Denman, 100 F.3d 399, 403 (5th



                                                    6
         Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 7 of 15



Cir. 1996) (“We agree with the reasoning of the Second Circuit and now hold that interception

includes both the location of the tapped telephone and the original listening post, and that judges

in either jurisdiction have authority under Title III to issue wiretap orders.”); United States v.

Savoy, ___ F. Supp. 2d ___, 2012 WL 3272146 (D.D.C. Aug. 3, 2012) (concluding that

interception takes place at the location of the target device and the location of the wire room).

       The location of the interception was the key issue in United States v. Cosme, 2011 WL

3740337 (S.D. Cal. Aug. 24, 2011). In accord with the Second, Fifth, Seventh, and Ninth

Circuits, the United States District Court for the South District of California denied a motion to

suppress the contents of a wiretap because the location where the contents of the calls were first

heard was within the authorizing court’s territorial jurisdiction. United States v. Cosme, 2011

WL 3740337 (S.D. Cal. Aug. 24, 2011). In Cosme, the defendants were members of the

“Fernando Sanchez Organization,” suspected of importing controlled substances from Mexico

into the United States. Id. at *1. The FBI sought a number of authorizations accompanied by

affidavits. The authorizing judge was specifically informed that the target devices were

physically located in Mexico and that the only way a call could be intercepted was when the

phone accessed a United States cell tower. Id. at *11. The defendants filed a motion to suppress

alleging the district court’s order of approval exceeded its authority provided by Title III. Id. at

*8. Specifically, the defendants argued that Title III did not authorize a district court judge to

permit the United States to intercept communications that occurred entirely in a foreign country.

Id. The government conceded that Title III did not permit courts to authorize wiretaps in

Mexico, but countered that the language of Title III does not “‘suggest that Congress limited the

ability of a judge to authorize the interception of those conversations which occur solely in the

United States.’” Id. at *8. In Cosme, the government established that communications were



                                                  7
         Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 8 of 15



only intercepted if that device accessed a cell tower on the United States network and devices

only accessed the United States network if they were in close proximity to the border between

the United States and Mexico. Id. at *11.

       The Cosme court held that the record conclusively established that the wire room where

the intercepts would be heard for the first time was located in the Southern District of California.

Id. at *10-11. The court joined the opinion of the Second, Fifth, Seventh, and Ninth Circuits

finding that interception occurs in at least two locations—the physical location of the target

device(s) and the physical location of the wire room. Id. at *9. Because the wire room used to

conduct the court-authorized wiretaps was physically located within the court’s territorial

jurisdiction and the contents were first heard by agents within the court’s territorial jurisdiction,

all communications were intercepted within the authority conferred by 18 U.S.C. § 2518(c). Id.

at *10. In denying the defendant’s motion to suppress, the court explained, “[d]efendants and

conspirators committing criminal offenses in the San Diego area intercepted within the Southern

District of California are not exempted from the valid wiretap order by making their plans across

the border.” Id.

       Defendant suggests that the district court exceeded its authority under Title III because

the contents of the interceptions were communications occurring solely between two people in

Mexico. (Mem. in Supp. of Def.’s Mot. to Suppress Evidence 7-13). Defendant ignores the

court’s ruling in Cosme, and instead advances essentially the same legal argument made by the

defendants and rejected by the court in Cosme. Defendant only puts forth legal precedent which

establishes that a United States court cannot authorize a foreign wiretap. In doing so, Defendant

fails to understand that United States courts have held Title III does not apply extraterritorially as

a way to include evidence rather than exclude evidence. United States v. Barona, 56 F.3d 1087,



                                                  8
         Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 9 of 15



1090-91 (9th Cir. 1995) (holding that Title III did not apply extraterritorially and thus did not

have the affect of excluding evidence obtained by the Danish authorities, in accordance with

Danish law, that was subsequently used in a United States prosecution); United States v. Cotroni,

527 F.2d 708, 711 (2d 1975) (holding that Title III did not apply where the communications

routed through United States cell towers because Title III’s application depends on the place of

interception, not the route followed by communications and as such failure to comply with Title

III was not grounds to exclude the evidence); United States v. Toscanino, 500 F.2d 267 (2d Cir.

1974) (holding that Title III did not apply extraterritorially because wire communication is meant

to refer to communication through United States networks, not communications in a foreign

country). 5 Further, Defendant fails to recognize the distinction between a court authorizing

interceptions to occur on foreign soil and a court authorizing interceptions to occur within the

United States. 6 Case law provides that Title III grants United States courts the authority to



5
  The Defendant cites United States v. Toscanino, 500 F.2d 267 (2d. Cir. 1974), in further
support of his argument that a federal judge lacks the authority to issue a foreign wiretap. While
the court in Toscanino also stated that Title III does not apply outside of the United States, Id. at
279, just as in the Angulo-Hurtado case, the court made it clear that “[t]he term ‘wire
communication,’ as used in the statute, 18 U.S.C. § 2510(1), is intended to refer to
communications ‘through our Nation's communications network.’” Id. (quoting 1968
U.S.C.C.A.N. 2178). Toscanino does not help advance the Defendant’s argument because it
only stands for the proposition that Title III does not give authority to United States courts to
authorize wire intercepts abroad. In the instant case, the intercepts occurred within the United
States, more specifically, within the Southern District of Texas. The Second Circuit excluded the
evidence obtained by the Uruguayan officials because the defendant was physically abused,
denied food and water, and forcefully kidnapped before returning to the United States for trial
and that conduct shocked the judicial conscience. United States v. Toscanino, 500 F.2d 267, 276
(2d Cir. 1974).
6
  Courts have squarely held that Title III does not apply extraterritorially to wire communications
intercepted outside the United States by foreign officials. In so finding, courts focus on the
constitutional protections afforded by the Fourth Amendment and determine if the acts by
foreign officials shocks the conscience or the acts by the United States officials is so substantial
that it constitutes as a joint venture. The courts did not apply Title III because it could have had
the affect of excluding the evidence. This point is further evidenced by the courts overwhelming
application of the good faith exception, even where the courts have found the evidence to be a
                                                  9
        Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 10 of 15



permit the interception within the United States of wire communications regardless of where

they occur. 7

        Defendant also relies on United States v. Angulo-Hurtado, 165 F.Supp.2d 1363, 1369

(N.D. Ga. 2001) and concludes that “a federal judge lacks the authority to wiretap a foreign

phone.” (Mem. in Supp. of Def.’s Mot. to Suppress Evidence 13). Defendant’s conclusion is

misguided. In Angulo-Hurtado, the defendant challenged a United States based wiretap on the

grounds that probable cause was partly based on an illegally obtained Colombian wiretap. Id. at

1367. The defendant asked the court to apply the Title III standards in its review of the

Colombian wiretap to conclude that it was illegally obtained. Id. at 1369. The court refused to

review the Colombian wiretap under the requirements of Title III stating that no authority existed

for the application of Title III to wiretaps conducted by foreign agencies. Id.

        As these cases explain, Congress intended Title III to protect the integrity of
        United States communications systems against unauthorized interceptions taking
        place in the United States. If Congress had meant to require law enforcement
        agencies to satisfy Title III for interceptions conducted outside the United States,
        it would have provided some mechanism by which agents could obtain such
        approval. Congress did not do so.


result of either an investigation that shocks the conscience or a joint venture. The case law cited
by Defendant involved wire intercepts initiated by foreign officials. As such, the case law cited
by Defendant is inapposite. Here, the interception was initiated by United States officials and the
interception took place in the United States.
7
  The D.C. Circuit has not specifically reached the issue. However, Chief Judge Lamberth has
endorsed the Rodriguez approach at the district court level, holding that “cell phone
communications are deemed intercepted at two places: where the tapped telephone is located and
where the communications are overheard.” United States v. Savoy, –– F. Supp. 2d ––, 2012 WL
3272146, at *13 (D.D.C. Aug. 3, 2012) (internal quotes and citation omitted) (finding that the
District Court had jurisdiction to issue a wiretap order authorizing interception of the defendant’s
cellular telephone where the affidavits in support of the application indicated that the
interceptions would be monitored at the Federal Bureau of Investigation’s Washington Field
Office); United States v. Lerma-Plata, No. 11-CR-238, Mem. Op. & Or. at 12 (D.D.C. Jan. 31,
2013) (concluding that the District Court had jurisdiction to issue a wiretap order authorizing
interception of the defendant’s cellular telephone where the affidavits in support of the
application expressly stated that the targets were in Mexico and the cellular provider for the
target phones was Mexico-based Nextel).
                                                 10
        Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 11 of 15



Id. (emphasis added).

       Contrary to Defendant’s assertion, Angulo-Hurtado supports the Government’s position

that a United States court has the authority to permit interceptions within the United States of

wire communications occurring in a foreign country when the communications are intercepted in

the United States. In its analysis of Congress’ intent, the court in Angulo-Hurtado makes clear

that Title III governs interceptions taking place within the United States and is not concerned

with where the communications themselves are taking place, which is a key factor to consider

when analyzing the instant case.

       The Government does not dispute that a United States court lacks the authority to issue a

foreign wiretap; that is to say that a United States court lacks authority to authorize interceptions

outside of the United States. However, the instant case deals with interceptions that occurred

within the United States, more specifically, within the Southern District of Texas. 8 Law

enforcement officials were able to intercept calls and only intercept those calls that passed

through cellular towers located in the United States. Like the intercepted calls in Cosme, the

only calls intercepted by agents were those that routed through the United States network.

       Defendant also mistakenly relies on United States v. Cotroni, 527 F.2d 708 (2d Cir.

1975). Defendant argues that Cotroni supports the proposition that the passage of Defendant’s

telephone conversations through United States cellular towers does not give the court authority

to issue a wiretap order. In Cotroni, the defendants were convicted in the Eastern District of

New York of various drug charges. Id. at 710. The prosecution relied in part on wiretap

evidence provided by the Canadian government. Id. at 710. The defendants argued that the

Canadian wiretaps should be analyzed under Title III in part because their telephonic


8
 The Defendant’s argument that suppression should be granted because the application failed to
state the location of the facility or the location of the wire room is addressed below.
                                                 11
        Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 12 of 15



communications passed through United States communication networks, despite being

intercepted in Canada. Id. at 711. In response to the defendants’ contention the court looked at

Congress’ intent in enacting Title III and stated:

       We think this reliance is misplaced. Congress sought by Title III to regulate
       interceptions, not wire communications. See Act of June 19, 1968, P.L. 90—351,
       s 801(a)—(d), 82 Stat. 211. Thus, it is not the route followed by foreign
       communications which determines the application of Title III; it is where the
       interception took place.

Id. at 711. (emphasis added).

       Defendant ignores the clear holding of the circuit courts that the authority granted to

courts by Title III is triggered by the location of the intercepts and not where the communications

take place to conclude that “a United States court has no judicial authority to order the

monitoring and interception of communications between telephones located entirely in a foreign

country.” (Mem. in Supp. of Def.’s Mot. to Suppress Evidence 14). Defendant’s argument is

without merit because the wire room was located within the authorizing court’s territorial

jurisdiction. The target devices may have been physically located in Mexico but the wire room

was located in the Southern District of Texas. The communications were first heard in the South

District of Texas within the United States jurisdiction, which was within the authorizing district

court’s territorial jurisdiction. Because the listening post was within the authorizing court’s

territorial jurisdiction, the court had the authority to permit interception. Furthermore, the

communications were intercepted within the Southern District of Texas in compliance with the

court’s order. Therefore, Defendant’s lack of authority argument should be rejected and his

motion to dismiss on these grounds should be denied.




                                                 12
        Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 13 of 15



       B. The Intercepts Complied With the Court Order.

       Defendant next argues that the Court Orders did not authorize the interception of

communications in Mexico and therefore the electronic surveillance was not conducted in

conformity with the Order. Defendant’s argument is based on a misinterpretation of the

language of the Order and that the electronic surveillance was conducted in conformity with the

Order. Therefore, Defendant’s motion to suppress on these grounds should be denied.

       In United States v. Lerma-Plata, Judge Kollar-Kotelly addressed the same argument and

found the argument without merit. No. 11-CR-238, Mem. Op. & Or. at 17-18 (D.D.C. Jan. 31,

2013). The Court concluded that if the order clearly states that the court is granting authority

within the territorial jurisdiction of the United States and the interception takes place within the

territorial jurisdiction of the United States then it complies with 18 U.S.C. 2518(10)(a)(iii) and

does not warrant suppression. Id.

       Defendant misunderstands the standard language of the various orders which states: “IT

IS FURTHER ORDERED that in the event [a Target Device] is transferred outside the territorial

jurisdiction of this Court, interception may take place within any other jurisdiction within the

United States.” (See, e.g., Feb. 20, 2007, Or. Auth. Interception of Elec. Wire at 6 (Target Device

12)). All target device Orders contain the same language. Defendant argues that the Order only

authorized interception of communications when the target devices were located in the United

States. As explained in the previous section, courts have consistently held Title III is concerned

with the location of the interception of communications, not the location of the communication

devices. The Order makes clear that the court granted the authority for interceptions to take place

anywhere within the United States, if the target devices were outside of the jurisdiction of the




                                                 13
        Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 14 of 15



court. Here, all of the intercepts took place within the Southern District of Texas in compliance

with the Order. Defendant’s argument lacks merit and his motion to suppress should be denied.

                                         CONCLUSION

       WHEREFORE, the Government respectfully requests that this Court make a

finding that an evidentiary hearing is not necessary for ruling on this motion and deny

Defendant’s Motion to Suppress Wiretap Evidence in its entirety.



                                                     Respectfully Submitted,

                                                     ARTHUR G. WYATT, Chief
                                                     Narcotic and Dangerous Drug Section
                                                     Criminal Division
                                                     United States Department of Justice



                                             By:     /s/ Sean Torriente
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                                                14
       Case 1:08-cr-00057-BJR Document 152 Filed 05/06/13 Page 15 of 15



                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent via the CM/ECF system, to counsel
of record for the defendant, this 6th day of May 2013.




                                            By:     /s/ Sean Torriente
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                                               15
